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                   IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                 )         4:03CR3079-1
                                          )
                   Plaintiff,             )
                                          )
      vs.                                 )
                                          )         ORDER
LAWRENCE V. ALLEN,                        )
                                          )
                   Defendant.             )

      IT IS ORDERED that:

      (1)    The defendant’s motion to continue sentencing (filing 108) is granted;

       (2) Defendant Allen’s sentencing is continued to Monday, August 8, 2005,
at 12:00 noon, before the undersigned United States District Judge, in Courtroom No.
1, Robert V. Denney United States Courthouse and Federal Building, Lincoln,
Nebraska. Since this is a criminal case, the defendant shall be present unless excused
by the court.

      DATED this 20th day of June, 2005.

                                              BY THE COURT:

                                              s/ Richard G. Kopf
                                              United States District Judge
